
941 A.2d 594 (2008)
193 N.J. 592
In the Matter of Heywood E. BECER, an Attorney at Law (Attorney No. XXXXXXXXX).
Supreme Court of New Jersey.
February 22, 2008.

ORDER
The Disciplinary Review Board having filed with the Court, it decision in DRB 07-252, concluding on the record certified to the Board pursuant to Rule 1:20-4(f) (default by respondent) that HEYWOOD E. BECKER, formerly of FRENCTOWN, who was admitted to the bar of this State in 1979, and who has been temporarily suspended from the practice of law since December 1, 2006, be disbarred for violating RPC 1.15(a) (failure to safeguard funds), and RPC 8.4(c) (conduct involving dishonesty, fraud, deceit or misrepresentation), and RPC 8.4(b) (criminal act that reflects adversely on a lawyer's honesty, trustworthiness or fitness to practice), and the principles of In re Wilson, 81 N.J. 451, 409 A.2d 1153 (1979);
And HEYWOOD E. BECKER having failed to appear on the Order to Show Cause why he should not be disbarred or otherwise disciplined;
And good cause appearing;
It is ORDERED that HEYWOOD E. BECKER be disbarred, effective immediately, and that his name be stricken from the roll of attorneys; and it is further
ORDERED that HEYWOOD E. BECKER be and hereby is permanently restrained and enjoined from practicing law; and it is further
ORDERED that all funds, if any, currently existing or hereinafter deposited in any New Jersey financial institution maintained *595 by HEYWOOD E. BECKER pursuant to Rule 1:21-6 be restrained from disbursement except on application to this Court, for good cause shown, and shall be transferred by the financial institution to the Clerk of the Superior Court, who is directed to deposit the funds in the Superior Court Trust Fund pending the further Order of this Court; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
